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 4   Attorneys for
     SHAUN BHAMANI
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                     )       No. CR. S-10-327 MCE
                                                   )
 9                          Plaintiff,             )
                                                   )       STIPULATION TO AMEND DATES
10                                                 )       FOR FILING MOTION TO SEVER;
                                                           ORDER THEREON
11          v.                           )
                                         )
12   SHAUN BHAMANI, et al.,              )
                                         )
13                     Defendants.       )
     ____________________________________)
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            IT IS HEREBY STIPULATED AND AGREED between the defendant, Shaun Bhamani, by
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     and through his undersigned defense counsel, and the United States of America by and through its
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     counsel, Assistant U.S. Attorney Steven Lapham, that the hearing on Shaun Bhamani’s motion to
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     sever his case from that of his co-defendants, which is presently set for presently set for September
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     27, 2012 at 9:00 a.m., should be vacated. The defense will file a motion to sever by November 9,
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     2012. The government will file its opposition by December 9, 2012 and the defense will file its
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     reply by December 30, 2012. A hearing on the motion will be held on January 10, 2013.
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23
     DATED: September 26, 2012                           /S/ Bruce Locke
24                                                 BRUCE LOCKE
                                                   Attorney for Shaun Bhamani
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26
     DATED: September 26, 2012                        /S/ Bruce Locke
27                                                 For STEVEN LAPHAM
                                                   Attorney for the United States
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29                                                     1
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 1                                               ORDER
 2
 3          For the reasons stated in the above stipulation, the Court vacates the September 27, 2012
 4   hearing date on the motion to sever. The defense will file a motion to sever by November 9, 2012.
 5   The government will file its opposition by December 9, 2012 and the defense will file its reply by
 6   December 30, 2012. A hearing on the motion will be held on January 10, 2013.
 7          IT IS SO ORDERED.
 8
      Dated: September 28, 2012
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                                                  ________________________________
10                                                MORRISON C. ENGLAND, JR.
11                                                UNITED STATES DISTRICT JUDGE

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